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  1 Michael J. Bowe                                David M. Stein (# 198256)
    (pro hac vice application forthcoming)         dstein@brownrudnick.com
  2 mbowe@brownrudnick.com                         BROWN RUDNICK LLP
    Lauren Tabaksblat                              2211 Michelson Drive, 7th Floor
  3 (pro hac vice application forthcoming)         Irvine, California 92612
    ltabaksblat@brownrudnick.com                   Telephone: (949) 752-7100
  4 Danielle A. D’Aquila                           Facsimile: (949) 252-1514
    (pro hac vice application forthcoming)
  5 ddaquila@brownrudnick.com
    BROWN RUDNICK LLP
  6 7 Times Square
    New York, NY 10036
  7 Telephone: (212) 209-4800
    Facsimile: (212) 209-4801
  8
  9 Attorneys for Plaintiffs
10                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
11
   SERENA FLEITES and JANE DOE                       CASE NO. 2:21-cv-4920
12 NOS. 1 through 33,
                                                     PLAINTIFFS’ MOTION FOR
13                    Plaintiffs,                    LEAVE TO PROCEED UNDER
                                                     PSEUDONYMS
14              v.
15
   MINDGEEK S.A.R.L. a foreign entity;
16 MG FREESITES, LTD., a foreign
   entity; MINDGEEK USA
17 INCORPORATED, a Delaware
   corporation; MG PREMIUM LTD, a
18 foreign entity; RK HOLDINGS USA
   INC., a Florida corporation, MG
19 GLOBAL ENTERTAINMENT INC., a
   Delaware corporation,
20 TRAFFICJUNKY INC., a foreign
   entity; BERND BERGMAIR, a foreign
21 individual; FERAS ANTOON, a
   foreign individual; DAVID
22 TASSILLO, a foreign individual;
   COREY URMAN, a foreign individual;
23 VISA INC., a Delaware corporation;
   COLBECK CAPITAL DOES 1-10; and
24 BERGMAIR DOES 1-10.
25
                     Defendants.
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  1
  2                       NOTICE OF MOTION AND MOTION
  3 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  4        PLEASE TAKE NOTICE that Plaintiffs Jane Doe Nos. 1 through 33
  5 (collectively, the “Doe Plaintiffs”), through their undersigned counsel, hereby move
  6 for an Order granting them leave to proceed under pseudonyms in this matter. Plaintiffs
  7 seek to proceed under pseudonyms in this matter in order to protect their privacy in
  8 this highly sensitive and personal case and against further harassment, emotional harm
  9 and other injury, and public ridicule.
10         This Motion is made based upon this Notice and the accompanying
11 Memorandum of Points and Authorities and such other argument as may be presented
12 to the Court.
13                                           Respectfully submitted,
14 DATED: June 17, 2021                  BROWN RUDNICK LLP
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16                                       By: /s/ Michael J. Bowe
17                                           Michael J. Bowe
                                             (pro hac vice application forthcoming)
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19                                               Attorneys for Plaintiffs
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.     INTRODUCTION
  3        Plaintiffs Jane Doe Nos. 1 through 33 (collectively, the “Doe Plaintiffs”) are all
  4 victims of sex trafficking arising under 18 U.S.C. §§ 1591, 1595. Further, Jane Doe
  5 Nos. 1 through 13 are all victims of child sex trafficking and are also bringing claims,
  6 among others, for violations of federal child pornography and sexual exploitation laws
  7 arising under 18 U.S.C. §§ 2252, 2252A, and 2255. Because of the highly sensitive,
  8 personal, and sexual nature of the subject matter, as well as the threats and harassment
  9 the Doe Plaintiffs have suffered, the Doe Plaintiffs seek anonymity to protect their
10 privacy and to avoid further social ridicule and harassment. Accordingly, the Doe
11 Plaintiffs request that their Motion for Leave to Proceed Under Pseudonyms be
12 granted.
13 II.     BACKGROUND
14         The Doe Plaintiffs have had their lives upended and their privacy rights
15 destroyed when videos depicting them engaged in sexually explicit conduct were
16 uploaded to the internet, including websites like Pornhub, which is owned and operated
17 by MindGeek S.a.r.l.; MG Freesites, Ltd. d/b/a Pornhub (“Pornhub”); MindGeek USA
18 Incorporated (“MindGeek USA”); MG Premium Ltd.; RK Holdings USA Inc.; MG
19 Global Entertainment Inc.; TrafficJunky Inc. d/b/a Trafficjunky.com (collectively
20 “MindGeek”), and other websites owned and operated by MindGeek. See Compl. ¶¶
21 45-51.
22         The online publication of the videos inflicted emotional and other trauma on the
23 Doe Plaintiffs including: (i) public ostracization and ridicule when links to their videos
24 were sent to their family members, friends, classmates, co-workers, and other people
25 in their communities; (ii) harassment and threats, both online and in-person and from
26 strangers and acquaintances, related to their videos; and (iii) blackmail and extortion
27 by people demanding more sexually explicit videos and photographs and threatening
28 to send the already published videos and photographs to some of the Doe Plaintiffs’
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  1 family, friends, and colleagues. The Doe Plaintiffs also suffered substantial emotional
  2 harm that often manifested as physical harm. Most of the Doe Plaintiffs sought mental
  3 health counseling and services to cope with their trauma. See, e.g., id. at ¶ 291 (Jane
  4 Doe No. 4 was diagnosed with post-traumatic stress disorder and is receiving treatment
  5 from mental health professionals). Some became suicidal, see, e.g., id.at ¶ 379 (Jane
  6 Doe No. 28 suffered and continues to suffer from anxiety, suicidal thoughts, and panic
  7 attacks), others experienced significant weight loss, see, e.g., id.at ¶ 284 (Jane Doe No.
  8 2, a minor at the time of the videos, suffered from body dysmorphia that led to a
  9 significant weight loss, to a low of just 80 pounds), and others suffered from substance
10 abuse. See, e.g., id.at ¶ 275 (Jane Doe No. 1 suffered from an eating disorder and
11 substance abuse as a result of the years of sexual abuse and exploitation she suffered
12 as a minor, specific acts of which were recorded and disseminated on Pornhub). Many
13 dropped out of school, changed jobs, and took other measures in an attempt to
14 minimize the harm and public scrutiny over these videos. See, e.g., id. at ¶ 319 (Jane
15 Doe No. 12 dropped out of university after discovering the video on Pornhub); ¶ 284
16 (Jane Doe No. 2 quit her job and resorted to remote, online work that does not
17 necessitate her going out in public); ¶ 363 (Jane Doe No. 24 resigned from her job at
18 a five-star hotel where she held an executive position).
19         Some of the videos depicted sexual assaults and rapes, which re-traumatized
20 some of the Doe Plaintiffs as they were forced to re-live their sexual assaults and rapes.
21 See, e.g., id. at ¶ 339 (Jane Doe No. 17 was forcibly raped by two men and this rape
22 was recorded and monetized on Pornhub); ¶ 345 (Jane Doe No. 18 was sexually
23 assaulted on numerous occasions and recordings of these assaults were uploaded and
24 available to view on Pornhub); ¶ 329 (Jane Doe No. 15 was drugged and raped
25 unconscious and this rape was recorded and monetized on Pornhub). Further Jane Doe
26 Nos. 1 through 13 are victims of child sex trafficking. See id. at ¶¶ 270-322. They
27 suffered additional emotional harm and mental anguish after not only seeing their
28 sexual assaults play out again, but also processing the reality that many others had
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  1 watched and sought sexual gratification from their sexual assaults, which all occurred
  2 when they were minors.
  3        Further, MindGeek has demonstrated that it will retaliate against anyone who
  4 speaks negatively about its businesses, including Pornhub. For example, one of
  5 MindGeek’s operatives, known to the plaintiffs as GS, attacked a victim of child
  6 exploitation on Pornhub, harassing her and attempting to discredit her story. See
  7 Compl. ¶¶ 461-73. GS also attacked Serena Fleites, who also brings this action with
  8 the Doe Plaintiffs and has publicly discussed her story. After the publication of the
  9 New York Times Op-Ed, which featured Serena’s story, GS found Serena on Twitter
10 and took screenshots of Serena’s account and used them to victim blame, gaslight, and
11 intimidate Serena. See Compl. ¶ 471.
12 III.    ARGUMENT
13         “District Courts have broad discretion to determine whether a plaintiff may
14 proceed anonymously.” Doe K.G. v. Pasadena hospital Ass’n, Ltd., No.
15 218CV08710ODWMAAX, 2019 WL 1612828, at *1 (C.D. Cal. Apr. 15, 2019) (citing
16 Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000)).
17 Notwithstanding Federal Rule of Civil Procedure 10(a), which requires that “[t]he title
18 of the complaint must name all the parties,” “many federal courts, including the Ninth
19 Circuit, have permitted parties to proceed anonymously when special circumstances
20 justify secrecy.” Advanced Textile Corp., 214 F.3d at 1067. The Ninth Circuit has held
21 that “a party may preserve his or her anonymity in judicial proceedings in special
22 circumstances when the party’s need for anonymity outweighs prejudice to the
23 opposing party and the public’s interest in knowing the party’s identity.” Id. at 1068.
24         A.    Doe Plaintiffs Should Be Permitted To Proceed Anonymously To
25               Preserve Their Privacy And Prevent Further Harm
26         A party’s need for anonymity in judicial proceedings may arise where, as here,
27 “identification creates a risk of retaliatory physical or mental harm” and “when
28 anonymity is necessary to preserve privacy in a matter of sensitive and highly personal
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  1 nature.” Id. at 1068. For example, District Courts in this Circuit have permitted a party
  2 to use a pseudonym when it is “necessary to protect a person from harassment, injury,
  3 ridicule or personal embarrassment.” B.M. v. Wyndham Hotels & Resorts, Inc., No.
  4 20-CV-00656-BLF, 2020 WL 4368214, at *9 (N.D. Cal. July 30, 2020). “This district
  5 has thus considered ‘social stigmatization’ among the ‘most compelling’ reasons for
  6 permitting anonymity.” Jane Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 994
  7 (N.D. Cal. 2015). Further, the Ninth Circuit has instructed that “where, as
  8 here, pseudonyms are used to shield the anonymous party from retaliation, the district
  9 court should determine the need for anonymity by evaluating the following factors: (1)
10 the severity of the threatened harm; (2) the reasonableness of the anonymous party’s
11 fears; and (3) the anonymous party’s vulnerability to such retaliation.” Advanced
12 Textile Corp., 214 F.3d at 1068 (internal citations omitted).
13         District Courts in this Circuit, including this Court, have repeatedly held a
14 plaintiff may proceed under a pseudonym where the plaintiff is a victim of a crime
15 relating to sex. See, e.g., Doe as next friend for Jessy v. Dinkfield, No.
16 219CV01554ODWSSX, 2019 WL 4233579, at *2 (C.D. Cal. June 5, 2019) (allowing
17 the plaintiffs to proceed anonymously “[g]iven the serious and sensitive nature of the
18 allegations of possession and distribution of child pornography” and the “high
19 likelihood that Plaintiffs will suffer personal embarrassment and further emotional
20 injury if forced to proceed in this litigation with their real names”); Doe K.G., 2019
21 WL 1612828, at *1 (allowing the plaintiffs to proceed anonymously “[g]iven the
22 serious and sensitive nature of the allegations of repeated sexual assaults” and the
23 “high likelihood Plaintiffs will suffer personal embarrassment and further emotional
24 injury if forced to proceed in this litigation under their real names.”); Doe v. Mt. Diablo
25 Unified Sch. Dist., No. 18-CV-02589-JSC, 2018 WL 2317804, at *1 (N.D. Cal. May
26 22, 2018) (same); Doe v. Rose, No. CV-15-07503-MWF-JCX, 2016 WL 9150620, at
27 *1 (C.D. Cal. Sept. 22, 2016) (“As the Court discussed in the June Order, courts
28 generally permit alleged rape victims to use pseudonyms in pretrial proceedings.”);
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  1 Jane Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 994 (N.D. Cal. 2015)
  2 (allowing plaintiffs, a group of exotic dancers, to proceed anonymously where they
  3 have adequately identified the threat of social stigmatization, which is one of the most
  4 compelling reasons to permit anonymity); Doe v. Penzato, No. CV10-5154 MEJ, 2011
  5 WL 1833007, at *3 (N.D. Cal. May 13, 2011) (granting plaintiff’s motion to proceed
  6 under a pseudonym because of the allegations of sexual assault).
  7        Here, the Doe Plaintiffs, all victims of sex trafficking and child sex trafficking,
  8 face a severe threat of personal embarrassment, social stigmatization, and further harm
  9 due to harassment and threats stemming from their videos depicting their sex
10 trafficking. The Doe Plaintiffs have already suffered significant emotional and
11 physical harm and should not be subjected to more while they seek justice for the
12 horrendous and abhorrent acts they were subjected to. Given the sexual nature of this
13 case, this case easily qualifies as “sensitive and highly personal,” further justifying the
14 Doe Plaintiffs’ request to proceed using a pseudonym.
15         With respect to retaliatory harm, the three factors that the Ninth Circuit
16 discussed in Advanced Textile Corp. are easily met here. First, the threatened harm is
17 severe as evidenced by the past and continuing emotional and physical harm that the
18 Doe Plaintiffs have suffered. As mentioned, most of the Doe Plaintiffs are receiving
19 treatment from mental health professionals for a variety of ailments including post-
20 traumatic stress disorders, panic disorders, eating disorders, and substance abuse
21 disorders. Second, this fear is reasonable because the Doe Plaintiffs have already
22 suffered this harm, namely public ridicule, harassment, personal embarrassment, and
23 emotional and other harm, at least within their immediate communities or online.
24 Further, MindGeek has retaliated against victims of sex trafficking who have spoken
25 out against MindGeek, like Serena, so the fear of future and greater harm is also
26 reasonable. Finally, with respect to the last factor, the Doe Plaintiffs, as victims of sex
27 trafficking, are particularly vulnerable to retaliation given the sexual and personal
28 nature of this action.
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  1         B.    The Defendants Nor The Public Will Not Be Prejudiced By
  2               Preserving The Doe Plaintiffs’ Anonymity
  3         Further, the defendants will not experience any prejudice as a result of the Doe
  4 Plaintiffs proceeding under pseudonyms. The Court must “determine the precise
  5 prejudice at each stage of the proceedings to the opposing party, and whether
  6 proceedings may be structured so as to mitigate that prejudice.” Advanced Textile
  7 Corp., 214 F.3d at 1068. Because this case is at the pleadings stage, there is no
  8 prejudice to the Defendants at present. Further, at an appropriate stage of the litigation,
  9 the DoenPlaintiffs are willing to propose a protective order whereby they will provide
10 the defendants’ outside counsel with the true identifies of the Doe Plaintiffs for the
11 purpose of defending this action. The Doe Plaintiffs seek to shield their names from
12 the public record, public discourse, unnecessary third parties, and the media. Further,
13 any potential prejudice or harm the defendants may face is outweighed by the personal
14 ridicule, harassment, and emotional and physical harm the Doe Plaintiffs will suffer if
15 they are forced to use their real name. See, e.g., Doe K.G., 2019 WL 1612828, at *1
16 (finding that the “personal embarrassment and emotional injury” that the plaintiffs, as
17 victims of sexual assaults, would face if forced to proceed in this litigation under their
18 real names “outweighs any potential prejudice to Defendants.”); Doe as next friend for
19 Jessy, 2019 WL 4233579, at *2 (same).
20          Finally, the public interest is served not by revealing the Doe Plaintiffs’
21 identities but rather by “protecting their identities so that other victims will not be
22 deterred from reporting such crimes and seeking civil remedies.” Doe as next friend
23 for Jessy, 2019 WL 4233579, at *2; Doe K.G., 2019 WL 1612828, at *1 (noting that
24 “[w]ith regard to allegations of sexual assault . . . the public’s interest in allowing
25 alleged victims of sexual assault to proceed anonymously outweighs any public
26 interest in the plaintiff’s identity.”).
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  1 IV.    CONCLUSION
  2        For the foregoing reasons, the Doe Plaintiffs respectfully request that their
  3 Motion be granted and that the Court enter an order permitting them to proceed
  4 under pseudonyms in connection with this action.
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  7                                      Respectfully submitted,
  8
  9 DATED: June 17, 2021                  BROWN RUDNICK LLP

10
11                                        By: /s/ Michael J. Bowe
                                              Michael J. Bowe
12                                            (pro hac vice application forthcoming)
13
                                               Attorney for Plaintiffs
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